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 1   BRUCE LOCKE (#177787)
     Moss & Locke
 2   800 Howe Avenue, Ste 110
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     MELISSA VILLEGAS
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-08-294 EJG
                                         )
 9                     Plaintiff,        )
                                         )                 STIPULATION AND
10                                       )                 ORDER FOR CONTINUING THE
           v.                            )                 DATE FOR SENTENCING AND FOR
11                                       )                 RESCHEDULING THE DISCLOSURE OF
     MELISSA VILLEGAS,                   )                 THE PRE-SENTENCE REPORT
12                                       )
                       Defendant.        )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendant, Melissa Villegas,
15   by and through her defense counsel, Bruce Locke, and the United States of America by and through
16   its counsel, Assistant U.S. Attorney Russell Carlberg, that the date for sentencing should be
17   continued from June 24, 2011 to August 12, 2011. The reason for the delay is that the Probation
18   Officer needs additional time to prepare her final Pre-Sentence Report and the Probation Officer’s
19   vacation schedule and defense counsel’s trial schedule preclude scheduling the date for judgment
20   and sentence any earlier day..
21          Accordingly, the Pre-Sentence Report shall be filed with the court and disclosed to counsel
22   no later than July 22, 2011. The motion for correction of the Pre-Sentence Report shall be filed with
23   the court and served on the Probation Officer and opposing counsel no later than July 29, 2011. The
24   reply or statement of non-opposition shall be filed and served no later than August 5, 2011. Mr.
25   Carlberg has authorized Mr. Locke to sign this pleading for him.
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 4
 5   Dated: June 9, 2011                 Respectfully submitted,
 6                                          /S/ Bruce Locke
                                         BRUCE LOCKE
 7                                       Attorney for Melissa Villegas
 8
     DATED: June 9, 2011                    /S/ Bruce Locke
 9                                       For RUSSELL CARLBERG
                                         Attorney for the United States
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15          IT IS SO ORDERED.
16
     DATED: June 10, 2011                /s/ Edward J. Garcia
17                                       UNITED STATES DISTRICT JUDGE
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